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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS,
 et al.,

     Plaintiffs,

     v.                                                               Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.



                                       [PROPOSED] ORDER

          Upon consideration of Plaintiffs’ Motion for a Stay of Agency Action Under 5 U.S.C. §

705, it is hereby ordered that the motion is GRANTED. Until the Court resolves this case on the

merits or orders otherwise, or until such time as the parties agree in writing to amend, supersede,

or terminate this order, it is ORDERED that:

          1. The effective dates of implementation and enforcement of the January 23 Huffman

             Memorandum, February 18 ICE Directive, and March 21 Parole Termination Notice

             for Cubans, Haitians, Nicaraguans, and Venezuelans (CHNV) are immediately

             postponed and stayed insofar as they subject individuals who have previously been

             granted parole at ports of entry to expedited removal.



Date: _____________, 2025                             ___________________________

                                                      The Honorable Jia M. Cobb

                                                      UNITED STATES DISTRICT JUDGE
